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                   EXHIBIT G
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                                                                                            Page 1
 1                               DANA KHOYI
 2                        UNITED STATES DISTRICT COURT
 3                         NORTHERN DIVISION OF TEXAS
 4                                 DALLAS DIVISION
 5
 6    -------------------------------x
 7    RESEARCH IN MOTION LTD.
 8    and RESEARCH IN MOTION CORP.,
 9                Plaintiff
      vs.
10
11    EASTMAN KODAK COMPANY,
12                  Defendant.
13    ------------------------------x
14
15          Videotape deposition of DANA KHOYI, taken before CINDY
16    BERGLUND, CSR, Registered Professional Reporter and Notary
17    Public pursuant to the applicable provisions of the
18    Massachusetts Rules of Civil Procedure, at the offices of
19    FISH & RICHARDSON, 225 Franklin Street, Boston,
20    Massachusetts, on the 23rd day of September, 2009,
21    commencing at 8:47 A.M.
22
23
24
25


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                                                                                            Page 2
 1                                   DANA KHOYI
 2                                A P P E A R A N C E S
 3
 4
       Counsel for the Plaintiff:
 5
 6          FISH & RICHARDSON, P.C.
 7          1717 Main Street, Suite 5000
 8          Dallas, Texas 75201
 9          (214) 747-5070
10          reger@fr.com
11          BY: THOMAS H. REGER, II, ESQUIRE
12
13
14
15          Counsel for the Defendant:
16          K & L Gates LLP
17          925 Fourth Avenue, Suite 2900
18          Seattle, Washington 98104-1158
19          (206) 370-6688
20          douglas.greenswag@klgates.com
21          BY:    DOUGLAS B. GREENSWAG, ESQUIRE
22
23
24
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                                                                                            Page 3
 1                                   DANA KHOYI
 2
 3     (Appearances continued)
 4
 5     Counsel for the Defendant:
 6          CROWELL & MORING LLP
 7          1001 Pennsylvania Avenue, NW
 8          Washington, DC 20004-2595
 9          (202) 624-2786
10          cfindley@crowell.com
11          BY:    CLYDE E. FINDLEY, ESQUIRE
12
13     VIDEOGRAPHER:
14          David Hanrahan
15
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                                                                                             Page 7
 1                                DANA KHOYI

 2                of Crowell and Moring representing Kodak and Dana

 3                Khoyi.

 4                      THE VIDEOGRAPHER:              Okay, Cindy, if you could

 5                swear in Mr. Khoyi.

 6

 7                DANA KHOYI, the witness, having first been duly

 8          identified and sworn, deposes and states as

 9          follows:

10

11                      ATTY. REGER:          Okay, before we begin, I want

12                to note that RIM recently received an offer to

13                review 94 boxes of materials from a prior

14                litigation involving a patent at issue in this

15                deposition.        We also yesterday received five disks

16                of materials from that same patent litigation.                          We

17                have been asking for the materials since March.

18                We haven't had an opportunity to review the boxes

19                or the disks of materials.

20                      My understanding is the disks include prior

21                art references that we expect to review and likely

22                supplement our invalidity contentions.

23

24                DIRECT EXAMINATION BY ATTY. REGER:

25



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